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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DOUGLAS J. HORN and CINDY HARP-HORN,
Plaintiffs,
Civil Action No.
-against-— 15-cv-701 FPG/MIR
MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
AND EDIBLES, RED DICE HOLDINGS, LLC and
DIXIE BOTANICALS,

Defendants.

805 Third Avenue
New York, New York

December 12, 2017
10:06 A.M.

EXAMINATION BEFORE TRIAL OF DR. CINDY ORSER,
an Expert Witness appearing on behalf of the
Defendants herein, taken pursuant to Notice, and
held at the above time and place before Terri
Fudens, a Stenotype Reporter and Notary Public of

the State of New York.

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the article. It's the second page of the exhibit,
but it's page 9 of the article under the heading

the major plant Cannabinoids, do you see that?

A Yes.
QO And the sentence says
tetrahydrocannabinol, otherwise known as THC. I

should say THC is in parentheses, is a powerful
psychoactive agent, analgesic, muscle relaxant,
antispasmodic, neuroprotective antioxidant that
delivers 20 times the anti-inflammatory power of
aspirin and twice the power of Hydrocortisone.

Do you see that paragraph?

A Yes.
O THC 18 a wonder drug; isn't it?
MR. SHEPS: Objection as to
form.
QO Can you answer the question?
A It's pretty amazing.
Q Did you ever describe marijuana as a

wonder drug?

A No.

Q Are you an advocate of keeping THC in
formulated cannabis products?

A Yes.

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2 Q Why?

3 A Well, to the best of our knowledge,

4 THC is a key contributor to the effectiveness of

5 cannabis. So removing THC from cannabis per se

6 wouldn't make sense.

7 Q Ts it fair to say that a product, and
8 I mean a formulated product, we're talking about a
9 formulated product in this case, would be

10 ineffective without any THC?

11 A No.

1a QO What then makes a product effective
13 without THC? What component of a formulated

14 Medical Marijuana product would make it effective
15 without THC?

16 A CBD.

hd MR. SHEPS: Objection.

18 0 Okay. CBD is not a Schedule 1 drug;
19 correct?
20 MR. SHEPS: Objection.
21 A I don't believe so.
22 O Are you aware of the Schedule 1
29 substances?
24 A IT think there's three.
25 Q There are three in your line of work,

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allowed is what?
MR. SHEPS: Objection.

A Less than .3 percent.

QO Where is that standard from?

A Before 2014, I'm not sure.

Q Less than .3 percent only came to be
a requirement post 2014?

MR. SHEPS: Objection.

A I'm associating it with the Farm
Bill, but that might not be accurate.

Q Do you know the original source of
that .3 threshold that you mentioned?

A I don't.

QO What does that .3 threshold apply to
exactly, levels of what in what?

A .3 percent of THC.

O In what?

A In the raw -- the raw plant, the
extracted plant. Whatever the hemp product is.

Q Well, is it the raw hemp plant, or is

it some other product?
A Well, people aren't going to import
raw hemp. They're going to be importing extract.

Q Well, didn't this paragraph suggest

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so I don't really know if they're related.
Q So this product that -- this was one
of the things that -- these four pages were what
you reviewed as a basis for your opinions in your

report; correct?

A Yes «

QO Who provided you these?

A It was in the Messner Reeves
documents.

O These are not specific as to a lot of

the product?

A CoLrect -

Q So as I think you just stated, these
do not correspond to the product that Mr. Horn
says that he took between October 1 and October 9,
2012; right?

A Correct.

QO Would it have been useful to you to
get the Certificates of Analysis that did apply to
that particular product?

A Yes.

QO Did you ask for those particular
Certificates of Analysis?

A Apparently they don't exist.

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Analysis in front of you were a representative --
were as to a representative sample of that which
was on the market on October 1, 2012?

MR. SHEPS: Objection.

MR. BORON: Objection as to

form.
A IT don't know.
QO So we don't even know if what was

tested here on these Certificates of Analysis was
even a representative sample; correct?

A Correct.

MR. BORON: Objection as to
form.
MR. SHEPS: Objection.

QO I guess the question is then why do
you think these would be useful in determining the
THC content of the Dixie Elixir product at issue
here?

A I found this relevant because it
demonstrates that Dixie was complying with the
requirements in the State of Colorado, that their
products are below the .3 percent THC.

QO That .3 percent is a Colorado

threshold?

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2 A Tt's Colorado, but it's also the Farm
3 Bill; right? But it is Colorado.
4 Q Back in 2012, the Farm Bill didn't
5 apply; right?
6 A Right.
7 Q So back in 2012, was .3 percent a
8 state legal limit for THC in Colorado?
9 MR. SHEPS: Objection.
10 A That was my assumption.
11 QO We had to get the .3 percent from
12 somewhere. It's not your testimony that it came
13 from the Controlled Substances Act; right?
14 MR. BORON: Objection as to
15 form.
16 MR. SHEPS: Objection.
17 A I can't clarify that without looking
18 at the document.
19 Q To your knowledge, in 2012, say in
20 the month of October of 2012, there was no maximum
21 legal limit for THC in the State of New York;
22 correct?
23 MR. SHEPS: Objection.
24 A I don't know.
25 O Do you have an idea of whether -- if

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the reason for you not having the specific
Certificates of Analysis had anything to do with
CannLabs' closure as a business?
MR. BORON: Objection to form.

A Io can't say.

Q As you sit here today, you don't know
where CannLabs records would be held?

A I don't know.

Q Do you think that Jennifer Murray
would be able to tell me?

MR. BORON: Objection to the

form.
A I don't know.
Q Do you have any reason to believe

with your testimony as to the relevance of this
that this can be relied upon as an accurate
measure of THC in the product of October 1, 2012?
MR. BORON: Objection as to
form.
MR. SHEPS: Objection.
A I can't really say that either.
QO Okay. What are batch records as
compared to Certificate of Analysis?

A SO a batch record would be for

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z whatever the batch size is, whatever that unit is.
3 So batch is -- usually the cured flower is a
4 batch, or a bulk extraction is a batch. This is a
a finished product.
6 QO Would there have been batch records

7 with respect to both the product that was tested
8 on October 16 and the one that was tested back on

9 October 1, 2012?

10 A That's a question for CannLabs and

iil Dixie. I don't know the answer.

12 Q Is that something that you would have
13 liked to have seen for this report?

14 A Yes.

15 Q Did you ask them for that?

16 MR. BORON: Objection as to

17 form.

18 MR. SHEPS: Objection.

19 A I did not.

20 O To clarify, the batch records have to

21 do with the quantity of the sample that's provided
22 to make these Certificates of Analysis; is that a
23 proper statement?

24 A It's just upstream of a finished

25 product. So, you know, if you're Stouffer and

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you're manufacturing frozen lasagna, first you
have to cook the noodles, right, and then you have
to make the sauce. Then you have your final
product, which is the lasagna.

Q Gotcha. But batch records don't talk
about THC, right, to your knowledge?

MR. SHEPS: Objection.

A To my knowledge for them, I don't
know.

QO Did you at all find it unusual that
they gave you these Certificates of Analysis for a
different product?

A Well, yes.

MR. BORON: Objection as to
form.

QO Okay. Looking at the actual face of
these documents, if you would, the first page of
Graham 13, Graham Exhibit 13, does show what you
stated as the maximum legal limit for THC --
excuse me, to .3 percent, 0.3 percent?

A LoS.

QO And next to it it says asterisk,
undetectable, and the asterisk seems to refer to

the asterisk explanation underneath. It says:

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Z .05 and .04 are less than .3; correct?
3 A Correct.
4 QO However, those numbers indicate some
5 quantity of THC; right?
6 A Detectable, even though right here
7 they say if it's below .1, it's not detectable,
8 even though they're reporting it later.
9 Q When you say reporting it later, are
10 you talking about Ehe .09 percent?
11 A On the first page it says
12 undetectable. It defines undetectable as below
13 O.1, but yet on the last two pages, they're
14 reporting a value of less than .1. The .04 and
15 .O5 percent.
16 OQ So there is, at least with respect to
17 the .05, a detectable amount of THC; correct?
18 MR. BORON: Objection as to
19 form.
20 A It's being reported.
21 Q And it doesn't say undetectable
au there; right?
23 A Right.
24 Q So that is some guantity of THC in at
25 least these Certificates of Analysis?

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industrial hemp, that this was the final
formulated product?
MR. BORON: Objection to form.

MR. SHEPS: Objection.

A It says 500 milligrams. It gives a
sample size. I'm assuming it was the formulated
product.

Q Were you ever supplied the product

from Dixie or Medical Marijuana or anybody?

A No.
Q Okay. Moving on to page 4 of your
report.
MR. SHEPS: Can we take a brief
break?

MR. BENJAMIN: Okay.

(At this time, a brief recess
was taken.)

MR. SHEPS: I just want to
clarify something for the record.
Jeff, we had spoken just a moment ago
about the exhibit marked as Orser D
which was an internal chain of
custody with an order ID 281201415

dated October 29, 2012.

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together; right?

A Yes.

Q What state are you talking about
there?

A Colorado.

QO And because that's the state where we
believe the product was manufactured; correct?

A Correct.

Q You're saying that there's also a
federal limit of the .3 percent. You see that
there?

A Yes.

Q As you sit here today, you don't know

the source of that maximum threshold for the THC

guideline?
A Not in 2012.
Q But in 2014, it was the Farm Bill?
A Yes.
O And in that statement, implicit in

that statement, because you haven't stated it
specifically, you're applying that .3 percent
threshold to the final formulated Dixie product at
issue here?

A Yes.

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form. What numbers?

MR. BENJAMIN: I just stated
them. 170 as opposed to 500 in the
Certificates of Analysis.

MR. BORON: 500 what?

MR. BENJAMIN: 500 parts per
million.

THE WITNESS: «OS «

MR. BENJAMIN: That's the .05
number.

Q Given that, given what evidence of
chain of custody are there or adulteration issues
is there with that kind of ratio?

MR. SHEPS: Objection.

MR. BORON: Objection as to
form.

A It's just the comparability. These
aren't C of As for the product Mr. Horn took.
We've never seen the product Mr. Horn took. The
product he took was never tested. This is another
version of the product at a later date. We don't
know if they changed, how they did anything.
There's a degree of uncertainty here.

Q You mentioned -- do you feel that the

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A Yes.

Q Now I submit to you that HempMeds PX
has been stated to be the company that was
offering the Dixie Botanicals brand. Pursuant to
a letter that the Horns actually received.

But looking simply at the information
in that frequently asked question, that is
actually an FAQ with respect to workplace drug
screening; correct?

A Yes.

QO If I told you that the Dixie
Botanical FAQs have changed over the years to
include that, that language, would that indicate
to you that Dixie, and here HempMeds, was aware
that THC produced -- that THC was in their product
and produced positive test results?

MR. BORON: Objection to form.
MR. SHEPS: Objection.

A I would interpret this that they knew
there could be some THC, but they were making
efforts to have THC free products.

Q As of the date of the posting of
those FAQs; correct?

MR. BORON: Objection as to

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